EXHIBIT N
                                    United States District Court
                                   Southern District Of New York

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VIRGINIA L. GIUFFRE,

        Plaintiff,
v.
                                                                                             15-cv-07433-RWS
GHISLAINE MAXWELL,

        Defendant.


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                       DEFENDANT GHISLAINE MAXWELL’S
               THIRD SUPPLEMENTAL F.R.C.P. 26(A)(1)(A) DISCLOSURES

        Pursuant to F.R.C.P. 26(a)(1)(A), Defendant Ghislaine Maxwell makes the following

disclosures:

        I.      IDENTITIES OF INDIVIDUALS LIKELY TO HAVE DISCOVERABLE
                INFORMATION RELEVANT TO DISPUTED FACTS ALLEGED WITH
                PARTICULARITY IN THE PLEADINGS

             1. Ghislaine Maxwell
                c/o Laura A. Menninger, Esq.
                Haddon, Morgan & Foreman, P.C.
                150 E. 10th Ave.
                Denver, CO 80203
                303-831-7364
                LMenninger@HMFLaw.com

                Ms. Maxwell is the Defendant and may have knowledge concerning matters at
                issue, including the events of 1999-2002 and the publication of statements in the
                press in 2011-2015.

             2. Virginia Lee Roberts Giuffre
                c/o Sigrid S. McCawley, Esq.
                Boies, Schiller & Flexner LLP
                401 East Las Olas Boulevard, Suite 1200
                  has knowledge concerning matters at issue in the Complaint,
      including her own whereabouts and activities during the period 2000-2002.

8. David Boies
   Boies, Schiller, Flexner LLP
   575 Lexington Ave.
   New York, NY 10022
   (212) 446-2300

      Mr. Boies has knowledge concerning matters at issue in the Complaint and in
      Plaintiff’s pleadings and sworn statements in other litigations, including in
      particular her publicly filed allegations concerning Defendant and


9. Laura Boothe
   The Mar-a-Lago Club, LC.
   1100 South Ocean Boulevard,
   Palm Beach, FL 33480

      Ms. Boothe has knowledge concerning matters at issue, including the date that
                  began working at the Mar-a-Lago Club, and the human resources
      department at Mar-A-Lago.

10. Evelyn Boulet
    Address unknown at this time
    Telephone number unknown at this time

      Ms. Boulet may have knowledge concerning Plaintiff’s false claims against
      Defendant.

11.
      Address unknown at this time
      Telephone number unknown at this time

                  has knowledge concerning Plaintiff during the relevant time period
      including claims for damages, motive and bias.

12.
      Address unknown at this time

                     has knowledge concerning Plaintiff’s credibility, including false
      claims of sexual assault.

13.
      Address unknown at this time
      Telephone number unknown at this time


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      Mr. Schoettle may have knowledge concerning Plaintiff’s false claims against
      Defendant.

63.
      Address unknown at this time
      Telephone number unknown at this time

               may have knowledge concerning Plaintiff’s false claims against
      Defendant.

64. Mark Tafoya
    Address unknown at this time
    Telephone number unknown at this time

      Mr. Tafoya may have knowledge concerning Plaintiff’s false claims against
      Defendant.

65. Brent Tindall
    Address unknown at this time
    Telephone number unknown at this time

66.
      Address unknown at this time

                        has knowledge concerning Plaintiff’s credibility, including false
      claims of sexual assault.

67. Ed Tuttle
    Address unknown at this time
    Telephone number unknown at this time

      Mr. Tuttle may have knowledge concerning Plaintiff’s false claims against
      Defendant.

68. Emma Vaghan
    Address unknown at this time
    Telephone number unknown at this time

      Ms. Vaghan may have knowledge concerning Plaintiff’s false claims against
      Defendant.

69. Kimberly Vaughan-Edwards
    Address unknown at this time
    Telephone number unknown at this time
    Believed to be in the UK



                                      12
            Telephone number unknown at this time

                         may have knowledge concerning matters at issue, including Plaintiff’s
            activities during 1996 – 2002.

      77.
            Address unknown at this time
            Telephone number unknown at this time

                      has knowledge concerning Plaintiff’s false statements to the press, in
            court pleadings, and in sworn testimony as well as the events of 1999-2002.

      78. Witnessed identified by Plaintiff in any of the various versions of her Rule 26
          disclosures.

      79. Witnesses whose identities and contact information can be identified in law
          enforcement reports disclosed herein.

      80. Any other witness learned through the discovery process.

      Defendant Ghislaine Maxwell reserves her right to supplement these disclosures as
      additional witnesses are learned through the discovery process, or endorsed by
      Plaintiff.

II.         DOCUMENTS, DATA, COMPILATIONS AND TANGIBLE THINGS IN
            POSSESSION, CUSTODY OR CONTROL OF DEFENDANT THAT MAY
            BE USED TO SUPPORT DEFENDANT’S CLAIM OR DEFENSES

            1. Documents received from any other party through disclosures and/or in
               discovery, including any deposition exhibits, will not be identified or
               produced, though they technically may fall within this category “II”, and
               Defendant reserves the right to utilize such documents at any hearing or trial
               on this matter.

            2. News articles from the internet:

                   a. “Sordid friends and why he isn't fit for the job: Duke of York risks
                      losing ambassador role,” Daily Mail Online (Feb. 28, 2011).

                   b. “Prince Andrew and the 17-year-old girl his sex offender friend flew
                      to Britain to meet him,” Daily Mail Online (corrected Mar. 2, 2011).

                   c. “Unsavoury association: How Robert Maxwell's daughter 'procured
                      young girls' for Prince Andrew's billionaire friend,” Daily Mail Online
                      (Mar. 5, 2011).



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       d. “Virginia Roberts' account of the explosive Prince Andrew 'sex slave'
          drama,” Daily Mail Online (Jan. 3, 2015).

       e. “Court papers put daughter of Robert Maxwell at centre of ‘sex slave’
          scandal,” The Guardian (Jan. 4, 2015).

       f. “Prince Andrew denies sexual abuse allegations in unprecedented
          Buckingham Palace statement: The Duke of York denies having
          relations with alleged ‘sex slave,’” The Independent (Jan. 4, 2015).

       g. “Prince Andrew story runs and runs - but editors should beware,” The
          Guardian (Jan. 5, 2015).

       h. “US lawyer sues in Prince Andrew sex claims case,” Time (Jan 6,
          2015).

       i. “Harvard professor Alan Dershowitz denies charges of sex with
          underage girl,” Boston Globe (Jan. 22, 2015).

       j.   “Virginia Roberts’s Aunt Reveals Jeffrey Epstein Girl Says I Am In
            Fear for My Life,” Daily Mail Online, (Jan. 10, 2015).

       k. “EXCLUSIVE: Alleged ‘sex slave’ of Jeffrey Epstein, Prince Andrew
          accused two men of rape in 1998, but was found not credible,” NY
          Daily News (Feb. 23, 2015).

       l. “Jeffrey Epstein accuser was not a sex slave, but a money-hungry sex
          kitten, her former friends say,” NY Daily News (Mar. 1, 2015).

       m. “Twat Claims She Was Underage Sex Slave Bedding Prince Andrew,”
          http://www.mgtowhq.com/viewtopic.php?f=2&t=6676 (Jan. 5, 2015).

       n. “Exclusive: Prince Andrew at Heidi Klum’s ‘Hookers and Pimps’
          party with the New York socialite accused of procuring underage girls
          for his billionaire pedophile friend” Daily Mail Online (May 10,
          2016).

3. Email from            to various news organizations, Subject: “Ghislaine
   Maxwell,” (Jan. 2, 2015).

4. “Lawyers Acknowledge Mistake In Filing Sexual Misconduct Charges
   Against Professor Dershowitz,” Joint Statement of Brad Edwards, Paul
   Cassell and Alan Dershowitz (Apr. 8, 2016).

5. Edwards and Cassell v. Dershowitz, In the Circuit Court of the Seventeenth
   Judicial District In and For Broward County Florida to include:


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       a. Deposition testimony of Paul G. Cassell, dated October 16, 2015 and
          October 17, 2015.

6. Jane Doe #1 and #2 v. United States, U.S. District Court for the Southern
   District of Florida, 08-cv-80736-KAM pleadings to include:

       a. Motion for Limited Appearance, Consent to Designation and Request
          to Electronically Receive Notices of Electronic Filing (July 28, 2008)
          (Doc. # 16)

       b. Notice of Change of Address and Firm Affiliation (Apr. 9, 2009) (Doc.
          # 37)

       c. Order Denying Petitioners’ Motion to Join Under Rule 21 and Motion
          to Amend Under Rule 15 (Apr. 7, 2015) (Doc. #324)

       d. Order Scheduling Settlement Conference Before the Magistrate Judge,
          U.S. District Court (Mar. 31, 2016) (Doc. #378)

7. Epstein v. Scott Rothstein and Bradley J. Edwards, In the Circuit Court of the
   Fifteenth Judicial Circuit in and for Palm Beach County, Florida, 09-ca-
   040800, pleadings to include:

       a. Complaint (Dec. 7, 2009).

8. Law enforcement records obtained from the Palm Beach County (Florida)
   Sheriff’s Office, the Royal Palm Beach (Florida) Police Department, the
   County Court in and for Palm Beach County (Florida), the Greenacres
   (Florida) Department of Public Safety, and the Fremont County (Colorado)
   Sheriff’s Office.

9. Employment records obtained from ET Employment Training and Recruiting
   Australia.

10. Education records obtained from Royal Palm Beach Community High School
    and Forest Hills High School.

11. Documents received from Palm Beach County Library System.

12. Documents received from any other party through disclosures and/or in
    discovery, including any deposition exhibits, will not be identified or
    produced, though they technically may fall within this category “II”, and
    Defendant reserves the right to utilize such documents at any hearing or trial
    on this matter.




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             Defendant reserves the right to identify additional documents, data, compilations
             and tangible things as discovery continues and to supplement this list accordingly.


      III.   DESCRIPTION OF CATEGORIES OF DAMAGES SOUGHT AND
             COMPUTATION OF ECONOMIC DAMAGES CLAIMED BY THE
             DISCLOSING PARTY

             Not applicable at this time Ms. Maxwell reserves her right to supplement these
             disclosures as necessary.

      IV.    INSURANCE AGREEMENT UNDER WHICH ANY PERSON CARRYING
             ON AN INSURANCE BUSINESS MAY BE LIABLE TO SATISFY A PART
             OR ALL OF A JUDGMENT

             Ms. Maxwell’s AIG Homeowners and Excess Liability insurance policies.
             Coverage has been denied by AIG, as their letter of April 18, 2016 to Ms.
             Maxwell, copied to Ms. McCawley, attests.

Dated: June 17, 2016.
                                               Respectfully submitted,



                                               s/ Laura A. Menninger
                                               Laura A. Menninger
                                               Jeffrey S. Pagliuca
                                               HADDON, MORGAN AND FOREMAN, P.C.
                                               150 East 10th Avenue
                                               Denver, CO 80203
                                               Phone: 303.831.7364
                                               Fax:     303.832.2628
                                               lmenninger@hmflaw.com
                                               jpagliuca@hmflaw.com

                                               Attorneys for Ghislaine Maxwell




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                              CERTIFICATE OF SERVICE

       I certify that on June 17, 2016, I electronically served this DEFENDANT GHISLAINE
MAXWELL’S THIRD SUPPLEMENTAL F.R.C.P. 26(A)(1) DISCLOSURES via e-mail on the
following:

Sigrid S. McCawley                            Paul G. Cassell
Meredith Schultz                              383 S. University Street
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smccawley@bsfllp.com
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                                              J. Stanley Pottinger
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                                              s/




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